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  8                     IN THE UNITED STATES DISTRICT COURT
  9                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
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11    ROBERT MOORE,                                  Case No. 3:19-cv-02406-DMS-BLM
12                                    Plaintiff, ORDER DISMISSING CASE WITH
                                                 PREJUDICE
13                 v.
14
      JOE LANKFORD, et al.,
15
                                   Defendants.
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18          On May 25, 2021, the parties filed a Joint Motion to Dismiss this action in its

19    entirety with prejudice, including all claims against Defendants J. Lankford, M.

20    Arellano, D. Strumsky, and R. Buckel. The Court GRANTS the Motion and

21    dismisses this action with prejudice.

22          IT IS SO ORDERED.

23    Dated: May 25, 2021
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                                                             Order (3:19-cv-02406-DMS-BLM)
